22-50946-mmp Doc#39 Filed 03/08/23 Entered 03/08/23 12:01:39 Main Document Pg 1 of 2




  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: March 08, 2023.

                                                            ________________________________________
                                                                       MICHAEL M. PARKER
                                                               UNITED STATES BANKRUPTCY JUDGE
  ________________________________________________________________

                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

   IN RE:                              §           CASE NO. 22-50946-MMP
                                       §
   LISA MARIE GARZA                    §
                                       §
   DEBTOR                              §           CHAPTER 7 CASE
   ______________________________________________________________________________

                            ORDER GRANTING IN PART
          MOTION FOR AN ORDER, PURSUANT TO BANKRUPTCY RULE 9018
     AND SECTION 107(b) OF THE BANKRUPTY CODE, AUTHORIZING CHAPTER 7
      TRUSTEE TO FILE CONFIDENTIAL SETTLEMENT AGREEMENT BETWEEN
        NATIONAL DEBT RELIEF, LLC AND LISA MARIE GARZA UNDER SEAL
   ______________________________________________________________________________

            The Court has considered the Motion for an Order, Pursuant to Bankruptcy Rule 9018

   and Section 107(b) of the Bankruptcy Code, Authorizing Chapter 7 Trustee to File Confidential

   Settlement Agreement between National Debt Relief, LLC and Lisa Marie Garza Under Seal (the

   “Motion”). The Court, having considered the Motion, the responses, if any, the documents,

   motions, and pleadings on file, and arguments of counsel, if any, is of the opinion that the

   Motion is meritorious and that good cause exists and should be GRANTED IN PART.

            THEREFORE IT IS ORDERED that the Motion is hereby GRANTED IN PART;
22-50946-mmp Doc#39 Filed 03/08/23 Entered 03/08/23 12:01:39 Main Document Pg 2 of 2




          IT IS FURTHER ORDERED that the Confidential Settlement Agreement will be filed

   only for review in camera by this Court.

          IT IS FURTHER ORDERED that the Confidential Settlement Agreement shall remain

   under in camera review for no longer than thirty days from the date of entry of the order, unless

   the Court orders otherwise.

          IT IS FURTHER ORDERED that any evidence and testimony taken concerning the

   Confidential Settlement Agreement in relation to the Motion to Ratify Compromise and

   Settlement between National Debt Relief, LLC and Lisa Marie Garza (Dkt #26) will remain

   under in camera review and excluded from review by others, unless the Court orders otherwise.

          IT IS FURTHER ORDERED that the only entities permitted to review documents or

   transcripts of proceedings placed under in camera review are the Parties, as defined in the

   Motion, and, in addition, the following entities shall also have access to matters placed under in

   camera review unless the Court specifically rules otherwise: (1) the judge presiding over the

   case, (2) the law clerk to whom the matter is assigned internally by the presiding judge, (3) the

   Courtroom Deputy responsible for the matter, (4) the Clerk of the Court, and (5) the presiding

   judge and staff of any appellate tribunal.



                                                   ###


   Order submitted by:

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